October        10th 2018
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Your Honor,
I truly wish I could be here today. I just got a job
and is required of me today. The family and I are
thinking of him with love.
I begin by saying I am truly seeing a different John
since he has been in jail. I see a man who in
essence, has been broken down to have a complete
breakthrough. When I visit John in the past
months, I see a man who is truly sorry, who wants
to do the hard work on getting better, to work on
his mental illness and be the good father and
husband to his family. He is very clear about what
he has to do.
Presently he is off most of the meds and off all
cigarettes. I see the difference. But the main thing
John has done, is that he has voluntarily joined a
men's support group and church group in
detention where he is taking honest, hard steps to
get well. Where he is beginning for the first time to
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deal with the mental issues that caused him to be
where he is at. But he knows these groups are not
enough. He wants to do the real work with his
therapist, psychiatrist and to find an
impulsive/cognitive behavioral group when he gets
out.
He wants to begin to live a authentic, healthy life
and be a loving, husband and father. That is his
hope ... his goal. He recently wrote a letter to our
daughter. He is connecting and repairing. She was
so happy to read that letter.
My daughter and I also need John as financial
support. We struggle presently. He will have a job
when he gets out. The company wants him back as
John's work ethics have always been good.
As people will say, John is a good man with an
illness. As a wife of 17 years, I know he is different
now.
I hope we can bring him home today, so he can get
the right help as he begins this work towards
recovery.
Thank you your Honor
Sincerely,
Tara Hinrichs -O'Grady
